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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS


    KANSANS FOR CONSTITUTIONAL
    FREEDOM,

                     Plaintiff,

           v.                                       Case No.

    KRIS KOBACH in his official capacity as
    Attorney General of Kansas, NICHOLAS
    HALE in his official capacity as Chairman
    of the Kansas Governmental Ethics
    Commission,1 SAMUEL KLAASSEN in his
    official capacity as a Member of the Kansas
    Governmental Ethics Commission,
    JEROME HELLMER in his official capacity
    as a Member of the Kansas Governmental
    Ethics Commission, BEAU JACKSON in
    his official capacity as a Member of the
    Kansas Governmental Ethics Commission,
    CHRIS BURGER in his official capacity as
    a Member of the Kansas Governmental
    Ethics Commission, JERRY WALLENTINE
    in his official capacity as a Member of the
    Kansas Governmental Ethics Commission,
    EARL GLYNN in his official capacity as a
    Member of the Kansas Governmental Ethics
    Commission, TESS RAMIREZ in her
    official capacity as a Member of the Kansas
    Governmental Ethics Commission,
    JOHN/JANE DOE in his or her official
    capacity as a Member of the Kansas
    Governmental Ethics Commission, and
    WADE WIEBE, in his official capacity as
    Executive Director of the Kansas
    Governmental Ethics Commission,

                     Defendants.


1
  After July 1, 2025, the Kansas Governmental Ethics Commission will be redesignated as the
Kansas Public Disclosure Commission. H.B. 2206, 2025-2026 Leg. Sess. (Kan. 2025). When the
same bill goes into effect on July 1, 2025, it will re-number several of the statutory provisions cited
in this complaint.
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              COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

         Plaintiff Kansans for Constitutional Freedom files this complaint against Defendants KRIS

KOBACH in his official capacity as Attorney General of Kansas, NICHOLAS HALE in his

official capacity as Chairman of the Kansas Governmental Ethics Commission, SAMUEL

KLAASSEN in his official capacity as a Member of the Kansas Governmental Ethics Commission,

JEROME HELLMER in his official capacity as a Member of the Kansas Governmental Ethics

Commission, BEAU JACKSON in his official capacity as a Member of the Kansas Governmental

Ethics Commission, CHRIS BURGER in his official capacity as a Member of the Kansas

Governmental Ethics Commission, JERRY WALLENTINE in his official capacity as a Member

of the Kansas Governmental Ethics Commission, EARL GLYNN in his official capacity as a

Member of the Kansas Governmental Ethics Commission, TESS RAMIREZ in her official

capacity as a Member of the Kansas Governmental Ethics Commission, JOHN/JANE DOE, a

currently unknown person, in his or her official capacity after being appointed to fill a current

vacancy on the Kansas Governmental Ethics Commission, and WADE WIEBE, in his official

capacity as Executive Director of the Kansas Governmental Ethics Commission, and alleges as

follows:

                                    NATURE OF THE CASE

         1.      The First Amendment protects against laws that abridge the freedom of speech or

association. Central to its protections is the foundational principle that allowing for free and robust

debate about salient issues of the day is among our most cherished constitutional values. With the

enactment of House Bill 2106 (“HB 2106”),2 Kansas has adopted a series of impermissibly




2
    The text of HB 2106 is attached as Exhibit A.


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restrictive, overbroad, and vague restrictions on issue-advocacy speech that will unconstitutionally

impede public debate in Kansas about some of the most important policy issues of our times.

       2.      The Supreme Court has long held that spending to promote political advocacy is

core First Amendment speech, entitled to the Constitution’s most vigorous protections. This

includes spending to influence or affect the vote on any question submitted directly to the voters,

activity that the Court held nearly 50 years ago is “at the heart of the First Amendment’s

protection.” First Nat’l Bank of Bos. v. Bellotti, 435 U.S. 765, 776 (1978); see also id. at 767–68.

Moreover, when a law imposes criminal penalties or threatens core protected speech, it is subject

to heightened scrutiny under the Constitution’s due process protections, lest it fail to inform the

public of what it prohibits or lend itself to arbitrary or discriminatory enforcement. With the

enactment of HB 2106—which, unless enjoined, will go into effect on July 1, 2025—Kansas

violates these critical constitutional protections in several different ways.

       3.      The bill’s proponents claimed that HB 2106 is necessary to protect against foreign

interests influencing its voters as they decide whether to approve or reject proposed constitutional

amendments. But HB 2106’s new broad, expansive, and burdensome restrictions are not limited

to foreign governments or their subsidiaries, foreign nationals situated abroad with little to no

connection to the United States, or foreign corporations. The law’s definition of foreign national

reaches many who are lawfully residing in the United States (pursuant to student or work visas,

for example). These individuals are entitled to First Amendment protection for their issue

advocacy, but even if they were not, U.S. citizens have the right to hear their perspective on these

important questions of policy.

       4.      That said, in this case, the Court need not even reach the question of whether Kansas

could prohibit certain foreign nationals from engaging in spending to promote or oppose a




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proposed constitutional amendment because HB 2106’s restrictions are targeted not at the “foreign

interests” Kansas claims it means to silence, but at those who associate with them. Through a series

of exceedingly broad, highly invasive, and at times completely incomprehensible restrictions, HB

2106 will muzzle the speech of U.S. citizens and domestic organizations far more effectively than

that of the foreign nationals Kansas claims it means to target.

        5.      This includes the speech of Plaintiff Kansans for Constitutional Freedom, a Kansas-

based domestic organization that has previously advocated against an amendment to the Kansas

Constitution and, but for HB 2106, would continue to use its existing resources and future

donations to support or oppose proposed amendments. But under the plain terms of HB 2106, it

will be entirely barred from participating in any advocacy for or against constitutional amendments

in Kansas, unless an injunction is issued. HB 2106 threatens Kansans for Constitutional Freedom’s

constitutional rights in several different ways. It brings this action as a result.

        6.      First, HB 2106 makes it a crime for anyone to accept, “directly or indirectly, any

contribution or expenditure from a foreign national made for any activity promoting or opposing

the adoption or repeal of any provision of the” Kansas Constitution. K.S.A. § 25-4180(d)(1). 3 With

the sole exception of legal permanent residents, accepting a contribution or expenditure directly or

indirectly from any noncitizen for the purpose of any activity advocating for or against an

amendment to the Kansas Constitution will now be a crime. And both because this section of HB

2106 has no mens rea requirement and because it expressly empowers “[a]ny person who believes”

a violation to have occurred to file a complaint directly with the Attorney General, the breadth of




3
 All citations to K.S.A. § 25-4180 refer to the text of that section of the Kansas Statutes as
amended by HB 2106.


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the chill on protected speech will be significant, making even U.S. citizens reluctant to associate

with or collaborate on ballot issue advocacy with anyone who might be believed to be a noncitizen.

       7.       Second, HB 2106 prohibits U.S. citizens and domestic organizations like Kansans

for Constitutional Freedom from engaging in any activity promoting or opposing an amendment

to the Kansas Constitution unless they can certify that (1) they have not knowingly accepted

contributions or expenditures directly or indirectly from a foreign national at any time or for any

purpose, K.S.A. § 25-4180(a)(1), and (2) none of the donors that contributed to them for the

purpose of engaging in constitutional issue advocacy has knowingly accepted, directly or

indirectly, any contributions or expenditures from foreign nationals above a certain threshold for

any purpose within a four-year period, K.S.A. § 25-4180(a)(2). In other words, K.S.A. § 25-4180

effectively prohibits anyone who accepts money or property for the purpose of engaging in

constitutional ballot issue advocacy from engaging in such advocacy if they have knowingly

accepted contributions or expenditures directly or indirectly from a foreign national of any amount

and at any point in time. And it further imposes burdensome and invasive obligations on anyone

who accepts donations to engage in this type of issue advocacy to demand from their donors

information far attenuated from the actual issue advocacy itself.

       8.       Third, through yet another similarly attenuated, overbroad, and highly restrictive

provision, HB 2106 prohibits anyone from making independent expenditures to support or oppose

a Kansas constitutional ballot measure if they have accepted “any moneys” from any foreign

national, directly or indirectly, above a certain threshold, for any purpose, in the four years prior,

or will accept any amount looking forward to include the remainder of the calendar year. K.S.A.

§ 25-4180(c).




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       9.      Each of HB 2106’s challenged restrictions constitute unconstitutional attacks on

core First Amendment rights, and their effects, both individually and together, will be to broadly

dampen public discussion on Kansas constitutional ballot measures—questions of pure issue

advocacy. Under decades of well-established Supreme Court precedent, they are subject to strict

scrutiny. See, e.g., Bellotti, 435 U.S. at 795; Citizens Against Rent Control/Coal. For Fair Hous.

v. City of Berkeley, 454 U.S. 290, 296 (1981). They cannot survive.

       10.     While federal prohibitions on contributions and spending by “foreign nationals” in

relation to candidate-related elections may pass constitutional scrutiny, that is because of

compelling interests that are unique to the candidate context. In contrast, the Supreme Court has

found that these same concerns are simply not present in the ballot issue advocacy context;

accordingly, they cannot similarly justify infringements on those core protected rights.

Specifically, the Court has held that the government may impose certain limited restrictions on

candidate-related contributions and spending specifically to guard against potential influence of

candidates by donors, who once in office may make policy choices in accordance with the views

of those donors—and not in the interests of the voters who elected them. See, e.g., Fed. Election

Comm’n v. Cruz, 596 U.S. 289, 305 (2022) (“This Court has recognized only one permissible

ground for restricting political speech: the prevention of ‘quid pro quo’ corruption or its

appearance.”); see also Buckley v. Valeo, 424 U.S. 1, 26–27 (1976).

       11.     As the Supreme Court recognized in Bellotti nearly fifty years ago, “[t]he risk of

corruption perceived in cases involving candidate elections simply is not present in a popular vote

on a public issue.” 435 U.S. at 790 (internal citations omitted) (emphasis added); see also Sampson

v. Buescher, 625 F.3d 1247, 1255 (10th Cir. 2010) (“The legitimate reasons for regulating

candidate campaigns apply only partially (or perhaps not at all) to ballot-issue campaigns.”). The




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reason why is simple: such elections “are held on issues, not candidates for public office.” Bellotti,

435 U.S. at 790. Thus, if a majority of voters vote in favor of a constitutional amendment at the

ballot box, the amendment becomes law; no amount of spending—regardless of its source—can

change that amendment, which is set forth in the text the voters themselves approved.

       12.     Nor is there any legitimate basis for dampening discussion surrounding the issue as

the voters consider it. To the contrary, the Supreme Court has recognized, “the direct participation

of the people in a[n] [issue-related election], if anything, increases the need for the widest possible

dissemination of information from diverse and antagonistic sources.” Bellotti, 435 U.S. at 790 n.29

(cleaned up). Yet HB 2106’s broad and sweeping prohibitions take direct aim at this full and free

discussion. The Supreme Court has been clear that the concern that certain speech “may persuade

the electorate is hardly a reason to suppress it.” Id. at 790. “[T]he people in our democracy are

entrusted with the responsibility for judging and evaluating the relative merits of conflicting

arguments,” and the First Amendment squarely “rejects the ‘highly paternalistic’ approach of

statutes like [HB 2106] which restrict what the people may hear.” Id. at 791 & n.31.

       13.     Further, HB 2106’s failure to include a heightened mens rea requirement for its

new criminal provision contravenes clear Supreme Court precedent holding that civil or criminal

liability may be imposed only if the government can prove an appropriately culpable, subjective

mental state. As a result, that section of the statute independently violates the First Amendment.

       14.     HB 2106 is also unconstitutionally vague, in violation of the Fourteenth

Amendment’s Due Process Clause. Liability under HB 2106 is conditioned on phrases that are

hopelessly unclear (sometimes to the point of being nonsensical), providing no meaningful

guidance to entities who wish to speak for or against constitutional amendments and inviting




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arbitrary enforcement, with the natural effect of chilling protected speech at the core of the First

Amendment’s protections.

          15.   Finally, HB 2106 offends constitutional due process because it retroactively, and

unjustifiably, prevents Kansans for Constitutional Freedom from engaging in advocacy in support

of or in opposition to any constitutional amendment based on conduct that was entirely lawful

when it occurred.

          16.   To remedy these clear constitutional violations and to ensure its continued ability

to engage in political issue advocacy, Kansans for Constitutional Freedom seeks a declaratory

judgment that HB 2106 violates the First and Fourteenth Amendments, and preliminary and

permanent injunctive relief enjoining its implementation and enforcement.

                                 JURISDICTION AND VENUE

          17.   Plaintiff brings this action under 42 U.S.C. §§ 1983 and 1988 to redress the

deprivation, under color of state law, of rights secured by the U.S. Constitution.

          18.   This Court has original jurisdiction over this action because the matters in

controversy arise under the U.S. Constitution. 28 U.S.C. § 1331. The Court also has original

jurisdiction because this action seeks redress from the deprivation, under color of state law, of a

right secured by a provision of the U.S. Constitution providing for equal rights of U.S. citizens. Id.

§ 1343.

          19.   This Court has personal jurisdiction over Defendants, who are sued in their official

capacities.

          20.   Venue is proper in the U.S. District Court for the District of Kansas because (1)

Defendants reside in this judicial district, and (2) a substantial part of the events that give rise to

Plaintiff’s claim occurred, and will occur, in this judicial district. 28 U.S.C. § 1391(b).




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       21.     This Court has the authority to enter a declaratory judgment and provide

preliminary and permanent injunctive relief pursuant to Rules 57 and 65 of the Federal Rules of

Civil Procedure and 28 U.S.C. §§ 2201–2202.

                                           PARTIES

       22.     Plaintiff Kansans for Constitutional Freedom (“KCF”) is a non-profit corporation

incorporated and operating in Kansas and organized and operating under Section 501(c)(4) of the

Internal Revenue Code. It was formed in 2021 by a bipartisan coalition of reproductive rights

advocates and allied organizations committed to protecting the constitutional rights of Kansans

and keeping abortion safe and legal, as the primary organization in opposition to a proposed

amendment to the Kansas Constitution that would have eliminated the constitutional right to

abortion in the state (the “2022 Amendment”).

       23.     KCF is supported by a wide array of individual and organizational donors,

including from nearly every corner of Kansas. It spent more than $11 million opposing the 2022

Amendment in the lead-up to the August 2, 2022 election. That money was spent producing and

placing television advertisements opposing the amendment, communicating with voters through

direct mail, and funding a robust field program to communicate directly with Kansas voters and

help turn out the vote. Since it successfully defeated the 2022 Amendment, KCF has continued to

advocate for reproductive freedom in Kansas.

       24.     In future election cycles, KCF plans to use its existing resources and future

contributions to support or oppose other constitutional amendments. Most immediately, KCF

would like to spend to oppose a recently proposed amendment to the Kansas Constitution that

threatens to dramatically curtail the independence of the state’s judicial branch. KCF has already

secured funding commitments for this purpose from some of the same organizational donors that




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supported its efforts against the 2022 Amendment. But as a direct result of HB 2106’s

unconstitutional restrictions, KCF will no longer be able to engage in any of its planned advocacy.

        25.     Defendant Kris Kobach is the Attorney General of Kansas. He is sued in his official

capacity. As Attorney General, he “may prosecute any person who violates” the criminal

provisions added by HB 2106. K.S.A. § 25-4180(d)(2).

        26.     Defendant Nicholas Hale is the Chairman of the Kansas Governmental Ethics

Commission (the “Commission”). He is sued in his official capacity. The Commission is

empowered to bring a civil action for injunctive relief and statutory damages to enforce HB 2106’s

prohibition on accepting funds from foreign nationals for activities promoting or opposing a

constitutional amendment. K.S.A. § 25-4180(d)(3).

        27.     Defendant Samuel Klaassen is a Member of the Commission. He is sued in his

official capacity.

        28.     Defendant Jerome Hellmer is a Member of the Commission. He is sued in his

official capacity.

        29.     Defendant Beau Jackson is a Member of the Commission. He is sued in his official

capacity.

        30.     Defendant Chris Burger is a Member of the Commission. He is sued in his official

capacity.

        31.     Defendant Jerry Wallentine is a Member of the Commission. He is sued in his

official capacity.

        32.     Defendant Earl Glynn is a Member of the Commission. He is sued in his official

capacity.




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        33.     Defendant Tess Ramirez is a Member of the Commission. She is sued in her official

capacity.

        34.     Defendant John/Jane Doe, whose true name is currently unknown, will later be

appointed to fill a current vacancy on the Commission. John/Jane Doe is sued in his or her official

capacity.

        35.     Defendant Wade Wiebe is the Executive Director of the Commission. He is sued

in his official capacity.

                                    LEGAL BACKGROUND

        36.     The First Amendment provides that “Congress shall make no law . . . abridging the

freedom of speech.” U.S. Const. amend. I.

        37.     The Amendment “is designed and intended to remove governmental restraints from

the arena of public discussion, putting the decision as to what views shall be voiced largely into

the hands of each of us, in the belief that no other approach would comport with the premise of

individual dignity and choice upon which our political system rests.” McCutcheon v. Fed. Election

Comm’n, 572 U.S. 185, 203 (2014) (cleaned up).

        38.     As a result, central to the First Amendment’s core protections are the “right to

participate in the public debate through political expression and political association.” Id.

        39.     Restrictions that threaten core First Amendment interests, including in the election-

related spending context, are generally reviewed using strict scrutiny.

        40.     To survive strict scrutiny, the government must show that the restriction (1) furthers

a compelling state interest and (2) is narrowly tailored to achieve that interest. Citizens United v.

Fed. Election Comm’n, 558 U.S. 310, 340, 343 (2010); see also Cent. Me. Power Co. v. Me.

Comm’n on Governmental Ethics & Election Pracs., 721 F. Supp. 3d 31, 50 (D. Me. 2024)




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(applying strict scrutiny to state statute prohibiting political campaign spending by a “foreign

government-influenced entity”).

       41.     Nearly fifty years ago, the Supreme Court recognized in Bellotti that spending to

promote or oppose ballot measures was expression that was at the very heart of the First

Amendment’s protections. 435 U.S. at 776. The Court explained: “It is the type of speech

indispensable to decisionmaking in a democracy.” Id. at 777 (emphasis added).

       42.     The Supreme Court has been especially protective of spending in the ballot issue

context, because “[c]ontributions by individuals to support concerted action by a committee

advocating a position on a ballot measure is beyond question a very significant form of political

expression.” Citizens Against Rent Control, 454 U.S. at 298.

       43.     The Court has been clear: “Whatever may be the state interest or degree of that

interest in regulating and limiting contributions to or expenditures of a candidate or a candidate’s

committees there is no significant state or public interest in curtailing debate and discussion of a

ballot measure.” Id. at 299 (emphasis added).

       44.     While the Supreme Court has held that the government may impose certain specific

limited restrictions on contributions and spending in the candidate-election context, it has done so

based on its conclusion that such restrictions are carefully tailored to advance the state’s

compelling interest in preventing real or apparent “quid pro quo” corruption—that is, the

possibility that officeholders would carry political debts to their donors, who would thus exercise

outsized influence over public policy. See, e.g., Buckley, 424 U.S. at 26–27.

       45.     But the Supreme Court has held that the same interest does not exist in the ballot

issue context, where the people themselves vote on the policy at issue, and where that policy will

remain whatever the voters approve, irrespective of donor influence. See Bellotti, 435 U.S. at 787




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n.26, 790 (“explaining that “speak[ing] on issues of general public interest” is a “quite different

context” from “participation in a political campaign for election to public office” and holding that

“[t]he risk of corruption perceived in cases involving candidate elections simply is not present in

a popular vote on a public issue”); see also Sampson, 625 F.3d at 1255 (“The legitimate reasons

for regulating candidate campaigns apply only partially (or perhaps not at all) to ballot-issue

campaigns.”); Bluman v. FEC, 800 F. Supp. 2d 281, 288, 291 (D.D.C. 2011) (Kavanaugh, J.)

(recognizing that the state’s interest in “preventing foreign influence over the U.S. political

process” raises different questions when applied to issue advocacy), aff’d, 565 U.S. 1104 (2012).

       46.     Indeed, the Supreme Court has found that “the direct participation of the people in”

approving or rejecting a ballot issue “if anything, increases the need for the widest possible

dissemination of information from diverse and antagonistic sources.” Bellotti, 435 U.S. at 790 n.29

(cleaned up). And “[t]he inherent worth of the speech in terms of its capacity for informing the

public does not depend on the identity of its source[.]” Id. at 777 (emphasis added).

       47.     The Supreme Court has also made clear that First Amendment protections extend

not just to individual U.S. citizens, but also to corporations and to noncitizens residing in the

United States. See Pac. Gas & Elec. Co. v. Pub. Utils. Comm’n of Cal., 475 U.S. 1, 8 (1986)

(quoting Bellotti, 435 U.S. at 783) (“Corporations and other associations, like individuals,

contribute to the ‘discussion, debate, and the dissemination of information and ideas’ that the First

Amendment seeks to foster.”); Bridges v. Wixon, 326 U.S. 135, 148 (1945) (“Freedom of speech

and of press is accorded aliens residing in this country.”).

       48.     In addition to protecting the right of persons to speak on their own behalf, the First

Amendment’s “broad scope” also encompasses a person’s right to “receive” speech. Martin v. City

of Struthers, 319 U.S. 141, 143 (1943) (emphasis added); see Bellotti, 435 U.S. at 791 n.31 (“The




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First Amendment rejects the highly paternalistic approach of statutes . . . which restrict what the

people may hear.” (quotation marks omitted)). Thus, the First Amendment makes it “unlawful”

when a State “seeks to use its full power, including the criminal law, to command where a person

may get his or her information.” Citizens United, 558 U.S. at 356; see also id. at 339 (“The right

of citizens to inquire, to hear, to speak, and to use information to reach consensus is a precondition

to enlightened self-government and a necessary means to protect it.”).

       49.     The First Amendment also vigorously protects a person’s right of association.

“[I]mplicit in the right to engage in activities protected by the First Amendment [is] a

corresponding right to associate with others.” Roberts v. U.S. Jaycees, 468 U.S. 609, 622 (1984).

That is because “[e]ffective advocacy of both public and private points of view, particularly

controversial ones, is undeniably enhanced by group association.” NAACP v. Alabama ex rel.

Patterson, 357 U.S. 449, 460 (1958).

       50.     As the Supreme Court has long recognized, “First Amendment freedoms need

breathing space to survive,” NAACP v. Button, 371 U.S. 415, 433 (1963), and therefore the

Constitution requires that “[t]he government may regulate in the [First Amendment] area only with

narrow specificity,” Ams. for Prosperity Found. v. Bonta, 594 U.S. 595, 610 (2021) (quoting

Button, 371 U.S. at 433). To protect these vital interests, laws that impede (or threaten to impede)

freedom of expression and association are subject to heightened judicial scrutiny.

                                  FACTUAL BACKGROUND

I.     The Kansas Constitution empowers the people to approve or disapprove legislatively-
       referred constitutional amendments.

       51.     The Kansas Constitution may be amended either by constitutional convention or

through a legislatively-referred amendment process. Kan. Const. art. 14, §§ 1, 2.




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        52.    Amendments may be proposed by a concurrent resolution of two-thirds of the

membership of each chamber of the legislature and then submitted to the voters for their approval

or rejection by a simple majority vote. Kan. Const. art. 14, § 1.

II.     Kansas voters recently rejected a legislatively-referred amendment that would have
        removed the right to abortion from the Kansas Constitution.

        53.    In 2019, the Kansas Supreme Court recognized that the Kansas Constitution

“protects all Kansans’ natural right of personal autonomy, which includes the right to control one’s

own body, to assert bodily integrity, and to exercise self-determination. This right allows a woman

to make her own decisions regarding her body, health, family formation, and family life—

decisions that can include whether to continue a pregnancy.” Hodes & Nauser, MDs, P.A. v.

Schmidt, 309 Kan. 610, 680 (2019).

        54.    The Hodes decision drew widespread praise from reproductive rights advocates and

condemnation from anti-abortion activists and politicians. The ruling prompted anti-abortion

lobbyists and special interests to press for a constitutional amendment to override the decision and

remove this fundamental right from the Kansas Constitution.

        55.    In March 2020, thanks to the work of a bipartisan coalition of moderate lawmakers

and others who advocated in opposition to the matter, a proposed anti-abortion amendment failed

to receive the requisite two-thirds majority in each chamber to be placed before the voters.

        56.    After the 2020 general election changed the makeup of the Kansas Legislature, a

two-thirds majority of both chambers voted to place an anti-abortion constitutional amendment on

the August 2, 2022 primary ballot.

        57.    The 2022 Amendment would have added a new Section 22 to the Kansas Bill of

Rights, to provide that “the constitution . . . does not require government funding of abortion and

does not create or secure a right to abortion.”



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         58.    KCF, formed from a bipartisan coalition of over forty organizations, emerged as

the leading group opposing the 2022 Amendment. It received donations from residents of 80 of

Kansas’s 105 counties and spent more than $11 million on activities opposing the 2022

Amendment.

         59.    At the heart of KCF’s work to oppose the 2022 Amendment was a concerted and

resource-intensive effort of persuasion, that focused substantially on individual conversations with

voters about the issues at stake.

         60.    To this end, KCF’s staff and volunteers knocked on tens of thousands of doors and

talked to countless Kansas voters. They worked relentlessly to counter misinformation and

purposely misleading language that was placed on the ballot by the amendment’s proponents.

         61.    Following these extensive and herculean advocacy efforts, on election day,

Kansans overwhelmingly rejected the amendment, with 59 percent voting “no.”

III.     Kansans for Constitutional Freedom would like to work to persuade the people to
         similarly reject the Kansas Legislature’s newest legislatively-referred proposal.

         62.    KCF would like to mount a similar effort to oppose Senate Concurrent Resolution

(“SCR”) 1611, a proposed constitutional amendment referred by the Kansas Legislature that, if

approved by voters, would dramatically alter the current judicial selection process in Kansas.

         63.    Currently, Kansas has a merit-based judicial selection process involving a

nominating commission made up of lawyers and non-lawyers from across the state. The governor

must appoint one of three candidates selected by the commission, and the justices are then subject

to retention elections.

         64.    SCR 1611 would amend the Kansas Constitution to remove the current merit-based

selection process for justices of the Kansas Supreme Court and replace it with partisan elections.




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        65.     SCR 1611 is a direct response to the Kansas Supreme Court’s recognition of

fundamental reproductive rights and the defeat of the 2022 Amendment.

        66.     Having failed at the ballot box, the 2022 Amendment’s proponents now seek to

reshape Kansas’s independent judiciary into a partisan entity that will mold Kansas’s constitutional

jurisprudence to its political will.

        67.     SCR 1611 will be presented to Kansas voters in a special election scheduled for

August 4, 2026.

        68.     KCF has already secured funding commitments to oppose SCR 1611 from some of

the same organizational donors that supported its efforts against the 2022 Amendment. But HB

2106 directly threatens KCF’s ability to engage in these planned advocacy efforts.

        69.     KCF plans to educate voters about the effect of SCR 1611—including its

implications for the future of abortion access in Kansas—and to persuade them to vote against the

amendment. To do so, KCF must book advertising time, identify and work with vendors, and

develop and implement a voter turnout strategy. Those efforts will require months of work as well

as substantial funding. KCF’s ability to effectively oppose SCR 1611 therefore depends on its

ability to promptly begin its advocacy activities and its corresponding fundraising efforts.

IV.     HB 2106 takes direct aim at Kansans for Constitutional Freedom’s ability to advocate
        to support or oppose Kansas constitutional amendments.

        70.     HB 2106 is another direct response to the failure of the 2022 Amendment. Rather

than accept that an overwhelming majority of Kansas voters rejected the 2022 Amendment on its

merits, opponents of abortion rights blamed “foreign influence” for their failure at the ballot box.

        71.     Moreover, HB 2106 was meant to make it harder for KCF specifically to engage in

advocacy related to Kansas constitutional ballot initiatives.




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        72.     Proponents of HB 2106 explicitly singled out KCF’s success in advocating against

the 2022 Amendment as justification for HB 2106’s new prohibitions, claiming that the

amendment was defeated due to “foreign-backed funds” contributed to KCF.

        73.     HB 2106, through its many nested provisions, ultimately operates as a complete

ban on speech about constitutional amendments in Kansas for certain disfavored speakers.

        74.     HB 2106 defines “foreign national” as “(1) [a]n individual who is not a citizen or

lawful permanent resident of the United States; (2) a government or subdivision of a foreign

country or municipality thereof; (3) a foreign political party; (4) any entity; such as a partnership,

association, corporation, organization or other combination of persons, that is organized under the

laws of, or has its principal place of business in, a foreign country; or (5) any United States entity;

such as a partnership, association, corporation or organization, that is wholly or majority-owned

by any foreign national, unless: (1) Any contribution or expenditure that such entity makes is

derived entirely from funds generated by such United States entity’s United States operations; and

(2) all decisions concerning the contribution or expenditure are made by individuals who are

United States citizens or permanent residents, except for setting overall budget amounts.” Id. §

25-4180(e).

        75.     HB 2106 makes it a crime for any person to “accept, directly or indirectly, any

contribution or expenditure from a foreign national made for any activity promoting or opposing

the adoption or repeal of any provision of the constitution of the state of Kansas.” Id. § 25-

4180(d)(1). The bill’s plain text includes no mens rea element in this provision: it is a strict liability

crime. It authorizes the Kansas attorney general to “prosecute” any person who violates this

prohibition, and allows “[a]ny person who believes” this prohibition has been violated to “file a

complaint with the attorney general.” Id. § 25-4180(d)(2). It also authorizes the attorney general




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or the Commission to bring a civil action for an injunction and statutory damages against any

alleged violator. Id. § 25-4180(d)(3).

       76.     HB 2106 also contains several additional restrictions on issue advocacy that,

although far more circuitous, are no less stifling of free speech and association. Through their

breadth, vagueness, and indirect and often entirely digressive approach, these other provisions are

likely to have an even more severe impact on free speech and association. They are briefly

described below.

       77.     K.S.A. § 25-4180(a), as amended by HB 2106, requires that “[e]very person” who

“engages in any activity promoting or opposing the adoption or repeal of any provision of the

constitution of the state of Kansas” and “accepts moneys or property for the purpose of engaging

in such activity” must make an “annual report” to the Secretary of State identifying each person

who contributed an aggregate amount of value in excess of $50 in the preceding calendar year “for

such purposes.” K.S.A. § 25-4180(a). In that report, they must certify that (1) they have “not

knowingly accepted contributions or expenditures either directly or indirectly from a foreign

national” and (2) “each donor named in such report is not a foreign national and has not knowingly

accepted contributions or expenditures either directly or indirectly from any foreign national that

in the aggregate exceed $100,000 within the four-year period immediately preceding the date of

such donor’s contribution or expenditure.” Id.

       78.     To effectuate this requirement, K.S.A. § 25-4180(b) requires each person who

accepts any contributions and expenditures as described in subsection (a) to “require each donor

to certify that such donor is not a foreign national and has not knowingly accepted contributions

or expenditures either directly or indirectly from any foreign national that in the aggregate exceed

$100,000 within the four-year period immediately preceding the date of such donor’s contribution




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or expenditure.” Id. § 25-4180(b). For many organizations, $25,000—the average annual amount

of contributions an organization could accept to avoid the statute’s four-year, $100,000 cap—

would constitute a small portion of their annual budget.

       79.     Through these provisions, HB 2106 operates as a broad and exceedingly complex

and confusing prohibition on any meaningful amount of spending related to constitutional ballot

issue advocacy in Kansas based on an entity’s exercise of its associational rights.

       80.     By its plain terms, K.S.A. § 25-4180(a)(1) effectively prohibits anyone who accepts

money or property for the purpose of engaging in constitutional ballot issue advocacy from

engaging in such advocacy if they have knowingly accepted contributions or expenditures directly

or indirectly from a foreign national of any amount and at any point in time.

       81.     Unlike the criminal prohibition set forth in K.S.A. § 25-4180(d)(1), K.S.A. § 25-

4180(a)(1) does not cabin its text to reach only those contributions or expenditures that were made

for the purpose of promoting or opposing the adoption or repeal of a Kansas constitutional

amendment.

       82.     Nor does K.S.A. § 25-4180(a)(1) require that these contributions or expenditures

reach a certain amount—a notable omission when compared to other provisions in HB 2106 that

are triggered only where the contributions or expenditures accepted from foreign nationals total in

the aggregate at least $100,000 over a four-year period. Compare K.S.A. § 25-4180(a)(1)

(containing no threshold amount requirement), with K.S.A. § 25-4180(a)(2) (applying to amounts

greater than $100,000), K.S.A. § 25-4180(b) (same), and K.S.A. § 25-4180(c) (same).

       83.     By its plain terms, K.S.A. § 25-4180(a)(1) applies whenever anyone has

“knowingly accepted contributions or expenditures either directly or indirectly from a foreign

national.” Full stop. Thus, any person who has knowingly accepted contributions or expenditures




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either directly or indirectly from a foreign national cannot make the required certification and

cannot lawfully engage in constitutional advocacy.

       84.     K.S.A. § 25-4180(a)(2) requires any person who wishes to engage in constitutional

amendment advocacy to certify that the donors listed in its report have not themselves knowingly

accepted more than $100,000 in contributions or expenditures either directly or indirectly from

foreign nationals, and that requirement applies to contributions and expenditures made for any

purpose. Compare K.S.A. § 25-4180(d)(1) (containing a purpose requirement), with K.S.A. § 25-

4180(a)(2) (containing no such requirement). Thus, K.S.A. § 25-4180(a)(2) has the effect of

prohibiting constitutional amendment advocacy by anyone whose donors are unable or unwilling

to make the required certification about their own funding.

       85.     The intentional failure to file any report required by K.S.A. § 25-4180(a) is a class

A misdemeanor. K.S.A. § 25-4180(i); see also K.S.A. § 25-4151(a) (requiring that “[e]very report

or statement made under the campaign finance act” shall be made on a form containing the

following language, or its substantial equivalent: “I understand that the intentional failure to file

this document or intentionally filing a false document is a class A misdemeanor”).

       86.     As for K.S.A. § 25-4180(b)’s requirement that any person subject to subsection

(a)’s certification requirements “shall require each donor to certify that such donor is not a foreign

national and has not knowingly accepted contributions or expenditures either directly or indirectly

from any foreign national that in the aggregate exceed $100,000 within the four-year period

immediately preceding the date of such donor’s contribution or expenditure,” that provision has

the effect of shifting HB 2106’s burdensome and stifling reporting requirements onto a wide swath

of potential donors, including those who are far removed from constitutional amendment

advocacy.




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        87.    K.S.A. § 25-4180(b) on its face applies to contributions or expenditures given to

the donor for any purpose, not just donations made for constitutional amendment advocacy.

Compare K.S.A. § 25-4180(d)(1) (applying only to contributions or expenditures “made for any

activity promoting or opposing the adoption or repeal of any provision of the constitution of the

state of Kansas”), with K.S.A. § 25-4180(b) (containing no such limitation).

        88.    In addition, the sweep of K.S.A. § 25-4180(b) is not limited to only the donors that

are required to be listed in the report required by subsection (a); by its plain terms, it applies to

every one of the speaker’s donors. Compare K.S.A. § 25-4180(a)(2) (requiring a certification that

covers “each donor named in [the] report [required by subsection (a)]”), with K.S.A. § 25-4180(b)

(requiring “each donor” to make a certification, without a textual limitation to donors named in

the report).

        89.    K.S.A. § 25-4180(c) takes aim at—and effectively prohibits—persons from making

independent expenditures in support of or against a constitutional amendment if they receive

funding from foreign nationals over a certain threshold or anticipate accepting any amount of

money from a foreign national for the remainder of the calendar year. That provision requires any

person making an independent expenditure for or against a constitutional amendment to certify

within 48 hours that they have not knowingly accepted more than $100,000 directly or indirectly

from a foreign national within the previous four years, and that they will not accept any amount of

funding from a foreign national for the rest of the year. K.S.A. § 25-4180(c). The provision applies

to money received for any purpose. Compare K.S.A. § 25-4180(d)(1) (containing a purpose

requirement), with K.S.A. § 25-4180(c) (containing no such requirement). Accordingly, the

provision prevents anyone who received funding from foreign nationals above the statutory




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threshold (or who might receive any amount in the near future) from making any independent

expenditure in favor of or against a constitutional amendment.

       90.     In sum, HB 2106 effectively bans the following persons or groups from engaging

in “any activity promoting or opposing” a constitutional amendment: (1) any individual or

organization that has knowingly accepted any contributions “directly or indirectly” from any

foreign national, apparently for any purpose, in any amount, and without any time limitations; and

(2) any individual or organization that has received contributions for the purpose of engaging in

any activity promoting or opposing a constitutional amendment from any individual or

organization that itself has knowingly accepted, “directly or indirectly,” more than $100,000 from

foreign nationals—for any purpose—in the preceding four-year period.

       91.     In addition, HB 2106 bans any individual or organization from making any

“independent expenditure” for “any activity promoting or opposing” a constitutional amendment

if they knowingly accepted more than $100,000 from any foreign national in the previous four

years—again for any purpose—or if they intend to accept any amount of money from a foreign

national before the end of the calendar year, for any purpose.

       92.     At the same time that HB 2106 bans a wide variety of U.S. citizens and domestic

organizations from effectively engaging in constitutional ballot issue advocacy, HB 2106 has a

glaring omission: although ostensibly directed toward “foreign” influence, at no place does it

actually prohibit foreign nationals themselves from engaging in their own, direct spending to

support or oppose a constitutional amendment. For example, while HB 2106 would prohibit a U.S.

citizen from accepting a contribution from a foreign national “for the purpose of” purchasing an

advertisement opposing a proposed constitutional amendment, it does not prohibit that same

foreign national from directly purchasing the advertisement himself.




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        93.     HB 2106 became law without Governor Kelly’s signature. In a statement, Governor

Kelly said that she “support[s] stopping foreign influence in our elections,” but that HB 2106 “goes

too far.”4 She explained: “I cannot sign a bill that takes away the ability of Kansans and Kansas

businesses to support elections if they accept money from overseas for any purpose, not just those

related to elections. Forcing Kansans to choose between accepting financial support for any reason

or surrendering their voice in the political process is wrong.” 5

V.      HB 2106 will negatively impact Kansans for Constitutional Freedom’s ability to
        participate in the political process.

        94.     KCF, by virtue of its past activities opposing the 2022 Amendment and its planned

future activities opposing SCR 1611, is a “person” who “engages in any activity promoting or

opposing the adoption or repeal of any provision of the constitution of the state of Kansas” and

“accepts moneys or property for the purpose of engaging in such activity.” K.S.A. § 25-4180(a).

KCF accordingly is—or will be—subject to the reporting and certification requirements of HB

2106, as well as its criminal provisions. Its speech and associational activities will be severely

curtailed as a result.

        95.     Unless enjoined, HB 2106 will have devastating consequences for KCF and

organizations like it. KCF does not collect information from its individual donors regarding their

citizenship status. Nor does it require its organizational donors to do so. KCF therefore cannot say

whether any of its existing funds were contributed “directly or indirectly” by a foreign national.

Consequently, KCF could not make the certifications required by K.S.A. § 25-4180(a)(1). As a

result, when HB 2106 takes effect on July 1, 2025, KCF will be barred from engaging in “any



4
  See Governor Kelly Vetoes Two Bills, Allows Three to Become Law Without Signature, Office
of the Governor of Kansas (Mar. 31, 2025),
https://www.governor.ks.gov/Home/Components/News/News/591/56.
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  Id.


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activity promoting or opposing the adoption or repeal of any provision of the constitution of the

state of Kansas.”

       96.     KCF also cannot make the certification required by K.S.A. § 25-4180(a)(2), which

requires KCF to certify that its donors have not accepted contributions from foreign nationals

above a statutory threshold. The plain text of (a)(2) requires that KCF be able to certify that its

donors have not accepted funds from foreign nationals above this threshold—without regard to the

purpose for which the funds were given to the donors, and irrespective of whether the funds came

“directly or indirectly” from a foreign national. Id. KCF does not collect this information from its

donors and the requirement that it engage in invasive questioning of any donor of the source of

any funding that it has received for any purpose will directly hinder KCF’s ability to raise funds

to engage in the advocacy central to its purpose. There is no reason why a donor should have to

provide detailed and confidential information about its own funding sources—including where

that funding has nothing to do with the advocacy that the law is purportedly meant to hinder—to

KCF simply because it wishes to contribute to KCF. Indeed, many donors are likely not to be able

to make this certification to KCF because they may not have the underlying information that would

allow them to confidently make it in the first place. Further, the requirement effectively prohibits

KCF from receiving any funds from any donor that receives funding from foreign nationals over

the threshold for any purpose—even if it has nothing whatsoever to do with KCF or the targeted

advocacy. As a result, even if KCF could make the certification required by (a)(1), (a)(2) separately

makes it impossible for it to continue to engage in activity promoting or opposing the adoption or

repeal of any provision of the constitution of the state of Kansas in any meaningful way. But for

HB 2106, KCF would continue to solicit contributions in the future from a wide variety of potential

donors, including those who would be unable or unwilling to provide KCF with the broad personal




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and financial information about their own funding sources for any purpose. HB 2106’s certification

requirements make that impossible.

       97.     In addition, HB 2106 also requires any person making independent expenditures

for activities promoting or opposing a constitutional amendment to certify that the person has not

knowingly accepted within the past four years “any moneys either directly or indirectly from any

foreign national that in the aggregate exceed $100,000.” K.S.A. § 25-4180(c). The same provision

also requires the person to certify that they will not “accept any such moneys” for the remainder

of the year that the amendment is on the ballot. Id. Because KCF does not collect information from

its donors regarding their citizenship status or the sources of their funding, it cannot say whether

any of the funds it has accepted were contributed “directly or indirectly” by a foreign national.

Consequently, KCF would not be able to sign the certification that K.S.A. § 25-4180(c) requires

after making independent expenditures. As a consequence, KCF will be prohibited from making

any independent expenditure after HB 2106 goes into effect. In addition, KCF wishes to solicit

funds in the future from a wide variety of potential donors during the calendar years in which

constitutional amendments are on the ballot, including from donors who would be unwilling or

unable to provide KCF with the information necessary for KCF to certify that it has not knowingly

accepted funds directly or indirectly from a foreign national. But K.S.A. § 25-4180(c) prevents

KCF from doing so without losing its right to make independent expenditures for activities

promoting or opposing a constitutional amendment.

       98.     Finally, HB 2106 broadly chills KCF’s speech and associational rights specifically

because it was plain from the legislative history that it was KCF’s speech specifically that many

of the bill’s proponents sought to silence. During hearings before the legislature on HB 2106,

proponents of the bill singled out KCF as an organization that they believed had received




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substantial funding from foreign sources. Given that history, KCF must exercise extraordinary

caution regarding its decisions about its funding sources and whether it can make any of HB 2106’s

required certifications. To do otherwise would invite likely investigations into its activities and its

donors. Cf. K.S.A. § 25-4180(d)(2) (inviting “[a]ny person who believes the provisions of this

subsection have been violated” to “file a complaint with the attorney general”).

       99.     Moreover, because the terms of HB 2106 are, in many ways, unclear, KCF has little

guidance on the parameters of prohibited conduct.

       100.    For example, HB 2106 does not define the terms “contribution” or “expenditure.”

But the definitions of “contribution” and “expenditure” for purposes of the Kansas campaign

finance act, of which K.S.A. § 25-4180 is a part, are explicitly limited to contributions and

expenditures “for the express purpose of nominating, electing or defeating a clearly identified

candidate for a state or local office.” K.S.A. § 25-4143(f), (h) (emphasis added). That definition

reflects Supreme Court precedent, which has erected certain strict guardrails to ensure that

restrictions related to candidate spending do not unconstitutionally impede the First Amendment.

See, e.g., Buckley, 424 U.S. at 44 & n.52; McConnell v. Fed. Election Comm’n, 540 U.S. 93, 189

(2003). But by its terms the definition makes no sense when applied to the words “contributions”

and “expenditures” in K.S.A. § 25-4180, which deals exclusively with elections to approve or

reject constitutional amendments.

       101.    With respect to HB 2106’s use of the term “expenditure,” the confusion does not

stop there. Multiple provisions of HB 2106 regulate persons who have “accepted contributions or

expenditures.” See K.S.A. § 25-4180(a)(1)-(2), (b), (d). While in theory it makes sense to “accept”

a contribution, because that is defined as a “thing of value given to a candidate” or committee,

K.S.A. § 25-4143(f), it does not make sense within the meaning of campaign finance terms of art




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to “accept” an “expenditure,” which the Kansas campaign finance act defines in relevant part as a

“thing of value” that is “made” by a candidate or committee for the express purpose of nominating,

electing, or defeating a clearly identified candidate for state or local office, K.S.A. § 25-4143(h).

Since the terms “contribution” and “expenditure,” as used in HB 2106, simply do not fit within the

campaign finance act’s definitions of those terms, the most prudent interpretation of those terms

for an entity regulated by K.S.A. § 25-4180 is to give them their ordinary meaning, encompassing

“contributions” or “expenditures” made for any purpose whatsoever.

       102.    What to make of HB 2106’s treatment of “independent expenditures” is even more

puzzling. See K.S.A. § 25-4180(c). The Kansas campaign finance act defines an “independent

expenditure” as “an expenditure that is made without the cooperation or consent of the candidate

or agent of such candidate intended to be benefited, and which expressly advocates the election or

defeat of a clearly identified candidate.” K.S.A. § 25-4148c(d)(2) (emphasis added). There is no

reasonable way to apply a similar definition in the context of a proposed constitutional amendment:

it is not possible to receive the “cooperation or consent” of a constitutional amendment. Nor does

the Kansas campaign finance act recognize committees dedicated to advocating for or against

ballot issues or constitutional amendments, which might otherwise be an entity from which one

could receive “cooperation or consent.” See K.S.A. § 25-4143. Accordingly, HB 2106’s regulation

of “independent expenditures” apparently covers any expenditure made “for any activity

promoting or opposing” a constitutional amendment. K.S.A. § 25-4180(c).

       103.    HB 2106 also prohibits accepting “contributions” or “expenditures”—again,

without any limiting definition—either “directly or indirectly” from a foreign national. The statute

does not explain what “indirectly” means. How many hands must a dollar, once contributed by a

foreign national, pass through before an advocacy organization like KCF may accept it? How far




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must KCF trace the ultimate source of any contributions it receives? The statute provides no

guidance.

       104.    Thus, to avoid potential liability under K.S.A. § 25-4180 as amended by HB 2106,

organizations like KCF will need to read the law in its broadest sense to avoid violating its terms,

broadly chilling their political speech.

                                     CLAIMS FOR RELIEF

                                           COUNT I
                                 Infringement of Free Speech
                         U.S. Const. amends. I & XIV, 42 U.S.C. § 1983
                                     Against All Defendants

       105.    Plaintiff realleges and reincorporates by reference paragraphs 1–104 of this

Complaint as though fully set forth herein.

       106.    The First Amendment protects against the promulgation of laws “abridging the

freedom of speech.” U.S. Const. amend. I.

       107.    The First Amendment applies to the states through the Fourteenth Amendment.

       108.    Spending to promote or oppose ballot issues—including when amendments to state

constitutions are presented to the electorate—is at the very heart of the First Amendment’s

protections. Belotti, 435 U.S. at 776. “It is the type of speech indispensable to decisionmaking in

a democracy.” Id. at 777.

       109.    HB 2106 includes several provisions that prohibit spending on advocacy related to

amending the Kansas constitution and therefore implicate the First Amendment. K.S.A. § 25-4180.

       110.    Specifically, HB 2106 makes it a crime to accept contributions or expenditures from

a foreign national for activities promoting or opposing a constitutional amendment. K.S.A. § 25-

4180(d). The statute further prohibits a person from engaging in constitutional advocacy if the

person has accepted contributions or expenditures from foreign nationals, or if their donors have



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accepted contributions or expenditures from foreign nationals beyond a statutory threshold. K.S.A.

§ 25-4180(a). It also requires persons wishing to engage in constitutional advocacy to inquire about

their donors’ citizenship status and the citizenship status of their donors’ donors. K.S.A. § 25-

4180(b). Finally, HB 2106 prohibits persons from making any independent expenditure for or

against a constitutional amendment if they have accepted more than a statutory threshold from a

foreign national or intend to accept additional money from a foreign national. K.S.A. § 25-4180(c).

Each of these provisions infringes upon protected First Amendment speech.

        111.   The Supreme Court has long recognized that “[c]ontributions by individuals to

support concerted action by a committee advocating a position on a ballot measure is beyond

question a very significant form of political expression.” Citizens Against Rent Control, 454 U.S.

at 298; see also Republican Party of N.M. v. King, 741 F.3d 1089, 1095 (10th Cir. 2013) (“By

definition, an independent expenditure is political speech[.]” (quoting Citizens United, 558 U.S. at

360).

        112.   The Supreme Court has “rejected the argument that political speech of corporations

or other associations should be treated differently under the First Amendment simply because such

associations are not ‘natural persons.’” Citizens United, 558 U.S. at 343 (quoting Bellotti, 435 U.S.

at 776). “Corporations and other associations, like individuals, contribute to the ‘discussion,

debate, and the dissemination of information and ideas’ that the First Amendment seeks to foster.”

Pac. Gas & Elec. Co., 475 U.S. at 8 (quoting Bellotti, 435 U.S. at 783).

        113.   The Supreme Court has further recognized that, “[t]he inherent worth of the speech

in terms of its capacity for informing the public does not depend on the identity of the source.”

Bellotti, 435 U.S. at 777.




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       114.    HB 2106 infringes the speech rights of KCF because KCF has advocated for or

against amendments to the Kansas constitution, it intends to do so again, and because KCF (and

its donors) receives funds directly or indirectly from foreign nationals, thereby triggering HB

2106’s various prohibitions.

       115.    The threat that a statute will operate to chill speech is itself a constitutional harm.

See Ashcroft v. Am. C.L. Union, 542 U.S. 656, 658 (2004) (“Extraordinary harm and a serious chill

upon protected speech may result where, as here, a prosecution is a likely possibility[.]”).

       116.    HB 2106 authorizes the Kansas attorney general to prosecute any person who

violates K.S.A. § 25-4180(d), which states: “No person shall accept, directly or indirectly, any

contribution or expenditure from a foreign national made for any activity promoting or opposing

the adoption or repeal of any provision of the constitution of the state of Kansas.” K.S.A. § 25-

4180(d)(1); see id. § 25-4180(d)(2) (“The attorney general may prosecute any person who violates

this subsection.”). HB 2106 further allows “[a]ny person” to “file a complaint with the attorney

general” when that person believes that K.S.A. § 25-4180(d)(1) has been violated. K.S.A. § 25-

4180(d)(2).

       117.    Courts apply “strict scrutiny” to statutes that restrict core political speech, including

speech about ballot measures. Grant v. Meyer, 828 F.2d 1446, 1452 (10th Cir. 1987), aff'd, 486

U.S. 414 (1988) (“The clear import of the decisions of the Supreme Court is that restraints on

political association and communication, imposed by restrictions on financing of campaigns for

ballot measures, are suspect and subject to strict scrutiny.”); see also Cent. Me. Power Co, 721 F.

Supp. 3d at 50 (applying strict scrutiny to a state statute prohibiting political campaign spending

by a “foreign government-influenced entity”).




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       118.     A law may survive strict scrutiny only if the government can show that the

restriction (1) furthers a compelling state interest and (2) is narrowly tailored to achieve that

interest. Citizens United, 558 U.S. at 340.

       119.    Because political speech resides at the core of First Amendment protection, the

Supreme Court has allowed prohibitions on political speech only when the restriction is justified

by its ability to prevent quid pro quo political corruption or its appearance. See, e.g., Cruz, 596

U.S. at 305 (“This Court has recognized only one permissible ground for restricting political

speech: the prevention of ‘quid pro quo’ corruption or its appearance.”); see also Buckley, 424

U.S. at 26–27; King, 741 F.3d at 1094 (“The Buckley framework, importantly, recognizes only a

narrow governmental interest in regulating political speech—preventing corruption or the

appearance of corruption.”).

       120.    As the Supreme Court stated when invalidating a contributions limit related to a

ballot measure: “there is no significant state or public interest in curtailing debate and discussion

of a ballot measure.” Citizens Against Rent Control, 454 U.S. at 299; see Sampson, 625 F.3d at

1255 (“Limits on contributions to ballot-issue committees . . . are unconstitutional because of the

absence of any risk of quid pro quo corruption.”).

       121.    In considering limits on candidate-related spending, then-Judge Kavanaugh found

that certain limited restrictions could also be justified by an interest in excluding noncitizens from

certain activities “intimately related to the process of democratic self-government,” Bluman, 800

F. Supp. 2d at 287 (quoting Bernal v. Fainter, 467 U.S. 216, 220 (1984)), but in so holding, the

court was careful to emphasize that restrictions on a foreign citizen’s issue-related advocacy would

raise different constitutional questions, and the decision in Bluman should not be read to support

such restrictions, see id. at 292. To the extent that another court recently read that opinion to




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support the very types of restrictions that Bluman made clear it was not endorsing, it is plainly in

error. See OPAWL – Building AAPI Feminist Leadership v. Yost, 118 F.4th 770, 777–78 (6th Cir.

2024).

         122.   The Supreme Court has also made clear that “the fact that advocacy may persuade

the electorate is hardly a reason to suppress it[.]” Bellotti, 435 U.S. at 790. Rather, “the direct

participation of the people in a referendum, if anything, increases the need for the widest possible

dissemination of information from diverse and antagonistic sources.” Id. at 790 n.29 (cleaned up).

         123.   Unlike candidate-related elections, ballot issue elections do not raise the risk of

“quid pro quo” corruption, where a candidate’s ongoing and post-election policy decisions may be

implicitly influenced by their donors. See, e.g., Buckley, 424 U.S. at 26–27; Bellotti, 435 U.S. at

791 (1978) (“The risk of corruption perceived in cases involving candidate elections simply is not

present in a popular vote on a public issue.” (internal citations omitted)); Sampson, 625 F.3d at

1255 (same).

         124.   Because the only legitimate justification of regulations that prohibit political speech

is to eliminate quid pro quo corruption or its appearance, Cruz, 596 U.S. at 305, and because that

justification is irrelevant in the ballot issue context, Citizens Against Rent Control, 454 U.S. at

299, HB 2106 is unconstitutional under strict scrutiny.

         125.   Even if Kansas could have a compelling interest in preventing foreign nationals

from spending money to advocate for or against amendments to the Kansas constitution, HB 2106

is not appropriately tailored to serve that goal. As described above, it is both overinclusive and

underinclusive. It prohibits speech by U.S. citizens based on their receiving contributions from

foreign nationals that may be wholly unrelated to constitutional amendments. And it

simultaneously allows those same foreign nationals to engage in direct spending to promote or




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oppose constitutional amendments. The reason why is clear: HB 2106 is tailored not to protect

Kansas elections from foreign influence, but instead to hamstring KCF and other groups of Kansas

citizens.

        126.     HB 2106 separately triggers strict scrutiny because it is an impermissible content-

based restriction: it prohibits certain disfavored speakers (foreign nationals and those who accept

contributions and expenditures from them) and speech about certain topics (amendments to the

Kansas Constitution) associated with a particular form of expression (contributions and

expenditures).

        127.     Other federal courts considering similar regulations have held that when a law

“singles out particular political speech—that which advocates the defeat of a candidate and/or

supports the election of her opponents—for negative treatment that the state applies to no other

variety of speech,” it “‘by [its] terms distinguish[es] favored speech from disfavored speech on the

basis of the ideas or views expressed,’ and thus it cannot be content-neutral.” Day v. Holahan, 34

F.3d 1356, 1360–61 (8th Cir. 1994) (quoting Turner Broad. Sys., Inc. v. F.C.C., 512 U.S. 622, 642

(1994)). As a result, such laws are subject to strict scrutiny. Id.

        128.     The same is facially true of HB 2106, and it cannot survive strict scrutiny for the

reasons explained above.

        129.     HB 2106 unconstitutionally restricts the First Amendment speech rights of KCF

and others like it because it burdens core political speech and is a content-based restriction; and it

is not narrowly tailored or sufficiently related to any compelling, or even legitimate or important,

government interest.




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                                          COUNT II
                              Infringement of Associational Rights
                         U.S. Const. amends. I & XIV, 42 U.S.C. § 1983
                                     Against All Defendants

       130.    Plaintiff realleges and reincorporates by reference paragraphs 1–129 of this

Complaint as though fully set forth herein.

       131.    The “freedom to engage in association for the advancement of beliefs and ideas is

an inseparable aspect of the ‘liberty’ assured by the Due Process Clause of the Fourteenth

Amendment, which embraces freedom of speech.” NAACP v. Alabama, 357 U.S. at 460; see also

Hadnott v. Amos, 394 U.S. 358, 364 (1969) (“First Amendment rights [] include the right to band

together for the advancement of political beliefs.”).

       132.    HB 2106 infringes the associational rights of noncitizens, as well as those

individuals and organizations who wish to associate with them. Political spending is not just an

individual act of expression, but “enables like-minded persons to pool their resources in

furtherance of common political goals.” Buckley, 424 U.S. at 22. This is especially true for

processes like amending the constitution of Kansas, where potential amendments are submitted to

the electorate for approval or rejection, see Kan. Const. art. XIV, § 1, allowing individuals to use

the collective power of their voices and votes to write their views into law.

       133.    Specifically, the criminal prohibition on persons accepting contributions or

expenditures from foreign nationals for activities promoting or opposing a constitutional

amendment (K.S.A. § 25-4180(d)); the prohibition on constitutional advocacy of persons who have

accepted contributions or expenditures from foreign nationals, or whose donors have accepted

more than a specified amount of contributions or expenditures from foreign nationals (K.S.A. §

25-4180(a)); the requirement that persons wishing to engage in constitutional advocacy must

demand that their donors make certifications about their citizenship status and the citizenship status



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of their own donors (K.S.A. § 25-4180(b)); and the prohibition on persons making independent

expenditures for or against a constitutional amendment if they have accepted moneys above a

statutory threshold from foreign nationals or intend to accept additional money from a foreign

national (K.S.A. § 25-4180(c)) all infringe upon associational rights because they prohibit U.S.

individuals and organizations from associating with foreign nationals, and vice versa.

       134.    KCF can no longer freely associate with noncitizens who wish to support its causes

and its work advocating for and against amendments to the Kansas Constitution, without fear that

doing so would make KCF unable to continue to engage in such advocacy, or that it would make

KCF, its staff or volunteers, and the noncitizens vulnerable to invasive government investigation

and even potentially prosecution. In addition, HB 2106’s invasive and burdensome requirements

are likely to discourage former donors and potential future donors from associating with KCF. See,

e.g., Bonta, 594 U.S. at 610 (“When it comes to a person’s . . . associations, broad and sweeping

state inquiries into these protected areas discourage citizens from exercising rights protected by

the Constitution.” (cleaned up)).

       135.    HB 2106’s enforcement provision, allowing the Kansas attorney general to

prosecute persons who he believes have violated HB 2106’s prohibition on accepting contributions

or expenditures from foreign nationals for purposes of constitutional amendment advocacy, and

allowing “[a]ny person” who believes that provision has been violated to file a complaint with the

attorney general, K.S.A. § 25-4180(d), further threatens to chill Plaintiff’s associational rights. See

Bonta, 594 U.S. at 618–19 (“When it comes to the freedom of association, the protections of the

First Amendment are triggered not only by actual restrictions on an individual’s ability to join with

others to further shared goals. The risk of a chilling effect on association is enough, ‘[b]ecause




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First Amendment freedoms need breathing space to survive.’” (quoting NAACP v. Button, 371

U.S. 415, 433 (1963))).

       136.    These burdens on KCF’s associational rights trigger strict scrutiny. Infringements

on the right of association “may be justified by regulations adopted to serve compelling state

interests, unrelated to the suppression of ideas, that cannot be achieved through means significantly

less restrictive of associational freedoms.” Roberts, 468 U.S. at 623; see also Boy Scouts of Am. v.

Dale, 530 U.S. 640, 648 (2000); Bonta, 594 U.S. at 610 (“The government may regulate in the

[First Amendment] area only with narrow specificity’”) (quoting Button, 371 U.S. at 433).

       137.    HB 2106, for the same reasons described above, cannot pass strict scrutiny. None

of the provisions in HB 2106 is supported by a state interest sufficient to justify the resulting

restrictions on the right of Kansas citizens, organizations, and entities to freely associate with

foreign nationals. And the law is not narrowly tailored, or even sufficiently related, to serve any

interest that could justify the burden imposed on associational rights.

                                           COUNT III
                          First Amendment Against K.S.A. § 25-4180(d)
                          U.S. Const. amends. I & XIV, 42 U.S.C. § 1983
                                      Against All Defendants

       138.    Plaintiff realleges and reincorporates by reference paragraphs 1–137 of this

Complaint as though fully set forth herein.

       139.    “Prohibitions on speech have the potential to chill, or deter, speech outside their

boundaries.” Counterman v. Colorado, 600 U.S. 66, 75 (2023). This may occur for many reasons,

including when “[a] speaker may be unsure about the side of a line on which his speech falls,” a

“worry that the legal system will err, and count speech that is permissible as instead not,” or when

an individual “may simply be concerned about the expense of becoming entangled in the legal

system.” Id. “The result is ‘self-censorship’ of speech that could not be proscribed.” Id.



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       140.    To counteract that chilling effect, the Supreme Court has frequently held that the

government may impose civil or criminal liability on speech only if liability is “condition[ed] . . .

on the State’s showing of a culpable mental state.” Id.; see also id. at 76–77 (discussing instances

in which the Court recognized that a culpable mens rea requirement is necessary for a statute to

comport with the First Amendment); id. at 80 (noting that the culpable mens rea requirement has

applied “in both civil and criminal contexts”).

       141.    The Supreme Court has generally required at least subjective recklessness, and

sometimes more culpable mental states, before allowing the government to impose liability based

on speech. Id. at 77–79 & n.5.

       142.    The precise level of culpability that the First Amendment requires before allowing

the government to impose liability based on a particular type of speech depends on a balance that

considers on one hand “the constitutional interest in free expression, and . . . the correlative need

to take into account . . . prosecutions’ chilling effects,” and on the other, “the competing value in

regulating historically unprotected expression.” Id. at 79–80 (cleaned up). That analysis depends

on how far the “protected speech” that is likely to be chilled is “from the First Amendment’s central

concerns.” Id. at 81.

       143.    For example, while the Court has held that “incitement” may be proscribed, the

Court has required a showing of “specific intent, presumably equivalent to purpose or knowledge.”

Id. at 81; see also id. at 73 (defining incitement as “statements directed at producing imminent

lawless action” (cleaned up)). Because “incitement to disorder is commonly a hair’s-breadth away

from political ‘advocacy,’” id. at 81, a heightened mens rea standard above recklessness was

necessary “to ensure that efforts to prosecute incitement would not bleed over, either directly or




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through a chilling effect, to dissenting political speech,” which is “at the First Amendment’s core,”

id.

        144.   Spending to promote or oppose ballot issues, such as when state constitutional

amendments are submitted to voters for approval, lies at the heart of the First Amendment’s

protections. See Bellotti, 435 U.S. at 776. “It is the type of speech indispensable to decisionmaking

in a democracy.” Id. at 777.

        145.   Because “[c]ontributions by individuals to support concerted action by a committee

advocating a position on a ballot measure is beyond question a very significant form of political

expression,” Citizens Against Rent Control, 454 U.S. at 298, this type of speech deserves at least

as much protection as the speech recognized in the Supreme Court’s incitement cases, see

Counterman, 600 U.S. at 81 (discussing the need for a heightened mens rea requirement for speech

that is “a hair’s-breadth away from political ‘advocacy’”). Consequently, Kansas may not impose

civil or criminal liability for contributions related to advocacy directed at an amendment to the

Kansas constitution without requiring proof of a mental state of “purpose or knowledge.” Id.

        146.   HB 2106 purports to impose civil and criminal liability on individuals for core

political speech without the need for Kansas to prove any mental state.

        147.   Specifically, HB 2106 imposes civil and criminal liability on any person who

“accept[s], directly or indirectly, any contribution or expenditure from a foreign national made for

any activity promoting or opposing the adoption or repeal of any provision of the constitution of

the state of Kansas.” K.S.A. § 25-4180(d)(1). The statute authorizes the attorney general to

“prosecute” any person who violates that subsection, K.S.A. § 25-4180(d)(2), and authorizes the

attorney general or the Governmental Ethics Commission to seek statutory damages against any

person who violates that subsection, K.S.A. § 25-4180(d)(3).




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       148.    HB 2106 added multiple subsections to K.S.A. § 25-4180; nearly all of them

contain an explicit, heightened mens rea requirement of “knowledge” in their operative provisions.

See K.S.A. § 25-4180(a)(1) (regulation of persons who “knowingly accepted contributions or

expenditures”); id. § 25-4180(a)(2) (regulation concerning donors who “knowingly accepted

contributions or expenditures”); id. § 25-4180(b) (requiring donors to certify that they have not

“knowingly accepted contributions or expenditures”); id. § 25-4180(c) (requiring certification that

speaker “has not knowingly accepted any moneys”).

       149.    In stark contrast, K.S.A. § 25-4180(d)—which imposes both civil and criminal

liability for its violation—does not contain any requirement of proof of mental state.

       150.    When a legislature “includes particular language in one section of a statute but

omits it in another section of the same Act, it is generally presumed that [the legislature] acts

intentionally and purposely in the disparate inclusion or exclusion.” City & Cnty. of San Francisco

v. Envt’l Protection Agency, 604 U.S. ---, 145 S. Ct. 704, 713–14 (2025) (quoting Russello v.

United States, 464 U.S. 16, 23 (1983)). The Supreme Court has “invoked this canon time and time

again.” Id. at 14. Consequently, the Kansas legislature’s choice to include a “knowingly” mens rea

requirement in multiple provisions of HB 2106, but to decline to include any mens rea requirement

in K.S.A. § 25-4180(d) can only be interpreted to mean that the Kansas legislature did not intend

K.S.A. § 25-4180(d) to require proof of any particular mental state.

       151.    K.S.A. § 25-4180(d) therefore imposes both civil and criminal liability on persons

who accept a covered “contribution or expenditure,” even when the person does so “recklessly” or

“negligently”—or even non-negligently. It is a strict liability crime.




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        152.    None of those mental states are constitutionally sufficient to protect against the

chilling effect on protected speech that will result from the potential criminal and civil liability

created by K.S.A. § 25-4180(d).

        153.    Accordingly, K.S.A. § 25-4180(d) is unconstitutional under the First Amendment.

See Counterman, 600 U.S. at 77–81; see also State v. Boettger, 310 Kan. 800, 822–23 (2019)

(holding unconstitutional a Kansas statute that criminalized threats of violence made with a mens

rea of “recklessness”).

                                           COUNT IV
                                          Overbreadth
                          U.S. Const. amends. I & XIV, 42 U.S.C. § 1983
                                      Against All Defendants

        154.    Plaintiff realleges and reincorporates by reference paragraphs 1–153 of this

Complaint as though fully set forth herein.

        155.    HB 2106 is unconstitutional under the First Amendment and the Due Process

Clause of the Fourteenth Amendment because it is facially overbroad.

        156.    “[A] statute is facially invalid if it prohibits a substantial amount of protected

speech.” United States v. Williams, 553 U.S. 285, 292 (2008). That is because “the threat of

enforcement of an overbroad law deters people from engaging in constitutionally protected speech,

inhibiting the free exchange of ideas.” Id. Even if a law is constitutional in some of its applications,

it is facially unconstitutional if it is substantially overbroad relative to its “plainly legitimate

sweep.” Id.

        157.    Overbreadth challenges have also been successful where associational rights were

ensnared in statutes which, by their broad sweep, might result in burdening innocent associations

in addition to speech. Broadrick v. Oklahoma, 413 U.S. 601, 612 (1973).




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       158.    HB 2106 is substantially overbroad because it regulates speech related to advocacy

for or against amendments to the Kansas Constitution—including when proposed amendments are

submitted by ballot to the state’s voters for their approval or rejection. As the Supreme Court has

held, ballot issue-related spending is speech entitled to the First Amendment’s highest protections;

thus, HB 2106’s infringement upon it sweeps in an enormous amount of speech entitled to the

constitution’s most profound and significant protections.

       159.    The fact that HB 2106 targets core political speech related to state constitutional

amendments, which are submitted to the voters via the ballot and therefore lack any

constitutionally permissible justification for its restrictions, is sufficient to render the law

unconstitutional. But even if Kansas could have a sufficiently important interest in preventing

foreign nationals from spending money to advocate for or against amendments to the Kansas

Constitution, HB 2106 extends far broader than necessary to further that interest, encumbering

huge amounts of American citizen speech.

       160.    If a U.S. individual or organization knowingly accepts any contribution or

expenditure, directly or indirectly, from a foreign national—even a de minimis amount—that

American speaker is entirely prohibited from engaging in “any activity promoting or opposing” a

constitutional amendment. K.S.A. § 25-4180(a)(1). The same is true for U.S. individuals and

organizations whose donors cannot or will not make the required certifications about themselves

and their donors. K.S.A. § 25-4180(a)(2), (b). HB 2106 also flatly prohibits U.S. individuals and

organizations from making independent expenditures if they cannot make the required

certifications about their past or future funding. K.S.A. § 25-4180(c).

       161.    HB 2106 prevents American citizen speakers from augmenting the reach of their

speech by soliciting funds from foreign nationals. K.S.A. § 25-4180(d); id. § 25-4180(a)-(c).




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       162.     HB 2106 applies to a huge range of persons and entities, even individuals and

nonprofit organizations whose primary purpose has nothing to do with politics.

       163.     HB 2106 unnecessarily chills the core speech and associational rights of KCF and

others similarly situated who seek to engage in advocacy for or against amendments to the Kansas

constitution.

       164.     In short, even if HB 2106 were justified by a constitutionally appropriate purpose,

it would nonetheless sweep in an unduly broad amount of lawful speech and therefore is

unconstitutionally overbroad.

                                           COUNT V
                                           Vagueness
                            U.S. Const. amend. XIV, 42 U.S.C. § 1983
                                    Against All Defendants

       165.     Plaintiff realleges and reincorporates by reference paragraphs 1-164 of this

Complaint as though fully set forth herein.

       166.     HB 2106 is unconstitutionally vague under the Due Process Clause of the

Fourteenth Amendment.

       167.     “It is a basic principle of due process that an enactment is void for vagueness if its

prohibitions are not clearly defined.” Grayned v. City of Rockford, 408 U.S. 104, 108 (1972). Laws

can be vague either because they (1) fail to inform people of what they prohibit or (2) lend

themselves to arbitrary and discriminatory enforcement. See City of Chicago v. Morales, 527 U.S.

41, 58–59 (1999); Papachristou v. Jacksonville, 405 U.S. 156, 162 (1972).

       168.     “When speech is involved, rigorous adherence to [the requirements of the void for

vagueness doctrine] is necessary to ensure that ambiguity does not chill protected speech.” F.C.C.

v. Fox Television Stations, Inc., 567 U.S. 239, 253–54 (2012).

       169.     Multiple parts of HB 2106 are unconstitutionally vague.



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       170.    First, HB 2106 does not define the terms “contribution” or “expenditure.” The

definitions of “contribution” and “expenditure” for purposes of the Kansas campaign finance act,

of which K.S.A. § 25-4180 is a part, are explicitly limited to contributions and expenditures “for

the purpose of nominating, electing or defeating a clearly identified candidate for a state or local

office.” K.S.A. § 25-4143(f), (h). But that definition makes no sense when applied to the terms

“contributions” and “expenditures” in K.S.A. § 25-4180, which deals exclusively with elections

to approve or reject constitutional amendments. So what do these terms mean? Either (1) they refer

to all contributions and expenditures, for whatever purpose, in which case the law is overbroad for

the reasons explained above, or (2) there is some unspoken, hidden limitation on the types of

contributions and expenditures that trigger HB 2106’s onerous certification requirements, in which

case the law both fails to place the public on notice of what it prohibits, and invites arbitrary

enforcement.

       171.    Indeed, in Buckley v. Valeo, the Supreme Court held that Federal Election

Campaign Act’s definition of covered “contributions” and “expenditures” as those made “for the

purpose of influencing” an election “raises serious problems of vagueness.” 424 U.S. at 76–77.

Here, HB 2106 gives even less guidance as to the nature of the “contributions” and “expenditures”

that are covered by its prohibitions.

       172.    Second, echoing the definitions that the Supreme Court found in Buckley “raise[]

serious problems of vagueness,” 424 U.S. at 76, HB 2106 applies to “[e]very person who engages

in any activity promoting or opposing the adoption or repeal of any provision of the constitution

of the state of Kansas” and “accepts moneys or property for the purpose of engaging in such

activity.” Kan. Stat. § 25-4180(a). The statute provides no further guidance on what it means to

accept moneys or property “for the purpose of engaging in” “activity promoting or opposing the




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adoption or repeal of any provision of the constitution of the state of Kansas.” This is just as vague,

if not more so, than “for the purpose of influencing an election.” And in Buckley, the Supreme

Court held the “phrase, ‘for the purpose of . . . influencing’” carried an unconstitutional “potential

for encompassing both issue discussion and advocacy of a political result.” Buckley, 424 U.S. at

79.

        173.   Although the Supreme Court has held that words like “‘promote,’ ‘oppose,’

‘attack,’ and ‘support’” “provide explicit standards for those who apply them,” the provisions the

Court analyzed contained the additional requirement that the candidate be “clearly identified.”

McConnell, 540 U.S. at 170 & n.64; see also F.E.C. v. Wis. Right to Life, Inc., 551 U.S. 449, 495

(2007); cf. Yamada v. Snipes, 786 F.3d 1182, 1192 (9th Cir. 2015) (upholding, against a vagueness

challenge, a definition of “advertisement” that included a requirement that the communication

“identifies an issue or question that will appear on the ballot at the next applicable election”). HB

2106 contains no such identification requirement.

        174.   As a result, even if a constitutionally relevant distinction could be drawn between

general issue advocacy and advocacy for or against a particular constitutional amendment, HB

2106 fails to adequately draw that line. Consider the context of the 2022 Amendment: would

spending money on an issue advertisement generally exhorting Kansans to support abortion rights

be “activity promoting or opposing” the adoption of the 2022 Amendment? Would a grant to KCF

made with the express proviso that it be spent supporting abortion rights be made “for the purpose

of” such activity, thus triggering Section 25-4180(a)? What if an individual wrote a book about

their pro-choice views and talked about why measures like the 2022 Amendment should be

defeated? Would that implicate section (a) and if that person received funding from foreign citizens




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(e.g. in helping research, write, and publish the book), would they be prohibited from publishing?

All this is left unanswered by HB 2106.

       175.    Third, HB 2106 prohibits accepting “contributions” or “expenditures”—again,

without any limiting definition—either “directly or indirectly” from a foreign national. The statute

does not explain what “indirectly” means. How many hands must a dollar, once contributed by a

foreign national, pass through before an advocacy organization like KCF may accept it? How far

must KCF trace the ultimate source of any contributions it receives? Again, the statute provides

no guidance.

       176.    Fourth, HB 2106’s treatment of “expenditures” is so nonsensical as to fail to give

notice of what it prohibits and invite arbitrary enforcement. Sections 25-4180(a)(2), (b), and (d)(1),

as amended, collectively operate to prohibit any covered person from accepting contributions “or

expenditures” from foreign nationals or those who associate with them. But that makes no sense

in this context. How does one accept an “expenditure”? And how does that act distinguish itself

from accepting a “contribution”? That distinction must mean something, because Kansas courts

“do not interpret statutes in such a manner as to render portions superfluous or meaningless.” State

v. Roeder, 300 Kan. 901, 923 (2014). It would be reasonable to conclude that an organization like

KCF “accepts” an “expenditure” merely when another organization that shares its position on a

constitutional amendment spends its own money to advocate for that position. And the lack of an

explicit “purpose” limitation for contributions and expenditures in certain parts of the statute,

described above, further compounds the vagueness problems.

       177.    Fifth, HB 2106’s separate provision for “independent expenditures” is even more

puzzling. The Kansas campaign finance act defines an “independent expenditure” as “an

expenditure that is made without the cooperation or consent of the candidate or agent of such




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candidate intended to be benefited and which expressly advocates the election or defeat of a clearly

identified candidate.” K.S.A. § 25-4148c(d)(2) (emphasis added). That plainly makes no sense in

the context of a constitutional amendment campaign, which may be supported by any number of

disparate individuals, groups, or organizations.

       178.    Moreover, the “independent expenditure” certification requirement in K.S.A. § 25-

4180(c) speaks not in terms of “contributions” or “expenditures” but instead requires a speaker to

certify that it has not received (and will not receive) any “moneys” from foreign nationals, directly

or indirectly. Whatever (unspecified) limitation might be read into the use of the terms

“contributions” and “expenditures” elsewhere in the statute, the even more imprecise term

“moneys” cannot be so limited. On its face, the term seems to sweep in any income, from whatever

source, that has as its ultimate source any foreign national—to include “any United States entity

. . . that is wholly or majority-owned by any foreign national.” K.S.A. § 25-4180(e)(5).

       179.    None of these provisions is “readily susceptible to a narrowing construction that

will remedy the constitutional infirmity.” Citizens for Responsible Gov’t State Pol. Action Comm.

v. Davidson, 236 F.3d 1174, 1194 (10th Cir. 2000). And “[e]ven assuming that a more explicit

limiting interpretation of the statute could remedy the flaws we have pointed out, [courts] are

without power to remedy the defects by giving the statute constitutionally precise content.”

Wyoming Gun Owners v. Gray, 83 F.4th 1224, 1239 (10th Cir. 2023) (cleaned up).

       180.    K.S.A. § 25-4180, as amended by HB 2106, is therefore void for vagueness, both

facially and as applied.




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                                          COUNT VI
                                          Due Process
                            U.S. Const. amend. XIV, 42 U.S.C. § 1983
                                    Against All Defendants

         181.   Plaintiff realleges and reincorporates by reference paragraphs 1–180 of this

Complaint as though fully set forth herein.

         182.   When a legislature enacts a law that operates retroactively, the demands of “due

process . . . may sometimes bar its way.” De Niz Robles v. Lynch, 803 F.3d 1165, 1170 (10th Cir.

2015).

         183.   Even if HB 2106 represented a lawful regulation of speech relating to the promotion

or opposition of constitutional amendments on a going-forward basis, “[i]t does not follow,

however, that what [the Kansas legislature] can legislate prospectively it can legislate

retrospectively.” Usery v. Turner Elkhorn Mining Co., 428 U.S. 1, 16 (1976). “The retrospective

aspects of legislation, as well as the prospective aspects, must meet the test of due process, and the

justifications for the latter may not suffice for the former.” Id. at 17; see Pension Ben. Guar. Corp.

v. R.A. Gray & Co., 467 U.S. 717, 730 (1984) (“[R]etroactive legislation does have to meet a

burden not faced by legislation that has only future effects.”).

         184.   Accordingly, unless “the retroactive application of the legislation is itself justified

by a rational legislative purpose,” id. at 730, then it would violate due process to give HB 2106

retroactive effect.

         185.   In previous cases where the Supreme Court has upheld retroactive laws against Due

Process challenges, it normally has done so after concluding that Congress could have viewed the

statute’s retroactive effect as a rational way to allocate financial burdens resulting from the law or

to otherwise avoid economic harm. See, e.g., Turner Elkhorn, 428 U.S. at 18 (upholding retroactive

imposition of liability on mine operators for certain medical conditions caused by mining as “a



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rational measure to spread the costs of the employees’ disabilities”); Pension Ben. Guar. Corp.,

467 U.S. at 730–31 (upholding statute because it was rational for Congress to legislate

retroactively to reduce the likelihood of employers withdrawing from multiemployer pension

plans); United States v. Sperry Corp., 493 U.S. 52, 64–65 (1989) (upholding retroactive effect of

a statute in part to avoid one class of claimants to the Iran-United States Claims Tribunal having

to shoulder disproportionate costs while another class “would have obtained a windfall”).

       186.    By contrast, the Supreme Court has strongly indicated that it would be improper for

a State to impose retroactive liability based on a theory of “deterrence” or “blameworthiness.”

Turner Elkhorn, 428 U.S. at 17–18 (“[W]e would nevertheless hesitate to approve the retrospective

imposition of liability on any theory of deterrence or blameworthiness[.]” (citations omitted)).

       187.    HB 2106 imposes improper, retroactive punishment on KCF and other entities who

lawfully accepted contributions and expenditures from (1) foreign nationals and (2) donors who

had themselves accepted contributions and expenditures from foreign nationals.

       188.    As explained above, HB 2106 bars KCF from engaging “in any activity promoting

or opposing” a constitutional amendment unless KCF can certify that it “has not knowingly

accepted contributions or expenditures either directly or indirectly from a foreign national,”

without any temporal limitation. K.S.A. § 25-4180(a)(1). By its plain terms, that provision has the

effect that any person who has ever knowingly accepted contributions or expenditures from a

foreign national—even before HB 2106 went into effect—is forever barred from supporting or

opposing a constitutional amendment.

       189.    Similarly, HB 2106 bars a person from engaging in constitutional advocacy for up

to four years if the person has accepted contributions or expenditures from a donor that knowingly




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accepted more than $100,000 in contributions or expenditures from any foreign national in the past

four years. K.S.A. § 25-4180(a)(2).

        190.    The statute also prohibits a potential donor from giving money to support or oppose

a constitutional amendment for the four-year period after the donor knowingly accepted more than

$100,000 from any foreign national. K.S.A. § 25-4180(b).

        191.    Each of those provisions retroactively imposes a draconian penalty (an outright

prohibition of core political speech) based on conduct that was entirely lawful at the time

(accepting contributions and expenditures from foreign nationals).

        192.    Even if HB 2106 was a lawful means to prospectively regulate political speech

(which it is not), there still would be no rational basis for its retroactive application. Unlike the

mine run of cases in which the Supreme Court upheld retroactive application of a law, HB 2106 is

a direct regulation of political speech, and it cannot be justified as a rational way to share financial

burdens or to otherwise prohibit negative distortion of economic activity. And the Supreme Court

has already indicated that any potential justification based on “deterrence” or “blameworthiness”

of the then-lawful conduct is unavailable. Turner Elkhorn, 428 U.S. at 17–18.

        193.    If the ostensible purpose of HB 2106 was to limit foreign influence on the Kansas

constitutional amendment process, that interest would be fully served by HB 2106 operating only

prospectively. That interest could not possibly be served by retroactive application of the law.

        194.    Accordingly, even if the Court were to uphold HB 2106 in other respects, the statute

cannot constitutionally be applied to KCF based on its acceptance of funds from foreign nationals

before the law’s effective date, or based on acceptance of funds from foreign nationals by either

KCF or its donors from foreign nationals during the last four years.

        WHEREFORE, Plaintiff respectfully requests that this Court enter judgment:




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  A. Declaring that HB 2106 violates the First and Fourteenth Amendments to the U.S.
     Constitution;

  B. Enjoining Defendants, their respective agents, officers, employees, and successors, and
     all persons acting in concert with each or any of them, from taking any steps to
     implement and enforce HB 2106;

  C. Awarding Plaintiff its costs, expenses, and reasonable attorneys’ fees pursuant to, inter
     alia, 42 U.S.C. § 1988 and other applicable laws; and

  D. Granting such other and further relief as the Court deems just and proper.



                                             By: ________________________

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